Case 1:23-cv-00811-EGB Document 23-3 Filed 08/31/23 Page 1 of 22




       United States Court of Appeals
           for the Federal Circuit
                     ______________________

                       FASTSHIP, LLC,
                       Plaintiff-Appellant

                                v.

                       UNITED STATES,
                    Defendant-Cross-Appellant
                     ______________________

                      2017-2248, 2017-2249
                     ______________________

         Appeals from the United States Court of Federal
     Claims in No. 1:12-cv-00484-CFL, Judge Charles F.
     Lettow.
                     ______________________

                      Decided: June 5, 2018
                     ______________________

        MARK LEE HOGGE, Dentons US LLP, Washington, DC,
     argued for plaintiff-appellant. Also represented by CARL
     PAUL BRETSCHER, SHAILENDRA K. MAHESHWARI, RAJESH
     CHARLES NORONHA; DONALD EDWARD STOUT, Fitch, Even,
     Tabin & Flannery LLP, Washington, DC.

         SCOTT DAVID BOLDEN, Commercial Litigation Branch,
     Civil Division, United States Department of Justice,
     Washington, DC, argued for defendant-cross-appellant.
     Also represented by CHAD A. READLER, GARY LEE
     HAUSKEN.
                     ______________________
Case 1:23-cv-00811-EGB Document 23-3 Filed 08/31/23 Page 2 of 22




     2                            FASTSHIP, LLC v. UNITED STATES




         Before MOORE, WALLACH, and CHEN, Circuit Judges.
     WALLACH, Circuit Judge.
         Appellant FastShip, LLC (“FastShip”) sued the Unit-
     ed States (“the Government”) in the U.S. Court of Federal
     Claims, seeking damages for patent infringement pursu-
     ant to 28 U.S.C. § 1498 (2012). 1 According to FastShip,
     the U.S. Department of the Navy’s (“Navy”) Freedom-class
     Littoral Combat Ships (“LCS”), specifically the LCS-1 and
     LCS-3, infringe claims 1 and 19 of U.S. Patent No.
     5,080,032 (“the ’032 patent”) and claims 1, 3, 5, and 7 of
     U.S. Patent No. 5,231,946 (“the ’946 patent”) (collectively,
     “the Asserted Claims”) (together, the “Patents-in-Suit”).
         Following the Court of Federal Claims’ opinion con-
     struing various terms of the Patents-in-Suit, see FastShip,
     LLC v. United States (FastShip I), 114 Fed. Cl. 499
     (2013), the Government filed a motion for partial sum-
     mary judgment pursuant to Rule 56 of the Rules of the
     Court of Federal Claims (“RCFC”), arguing that the LCS-
     3 was not “manufactured” by or for the Government



         1   Section 1498 “waives the Government’s sovereign
     immunity and provides a remedy ‘[w]henever an inven-
     tion described in and covered by a patent of the United
     States is used or manufactured by or for the United
     States without license of the owner thereof or lawful right
     to use or manufacture the same.’” Liberty Ammunition,
     Inc. v. United States, 835 F.3d 1388, 1394 n.3 (Fed. Cir.
     2016) (citation omitted) (quoting 28 U.S.C. § 1498(a)). By
     waiving the Government’s sovereign immunity, § 1498
     “provides a cause of action against the United States”
     and, “[a]t the same time, . . . protects government contrac-
     tors against infringement liability and remedies where it
     applies.” Astornet Techs. Inc. v. BAE Sys., Inc., 802 F.3d
     1271, 1277 (Fed. Cir. 2015).
Case 1:23-cv-00811-EGB Document 23-3 Filed 08/31/23 Page 3 of 22




     FASTSHIP, LLC v. UNITED STATES                            3



     within the meaning of § 1498 before the Patents-in-Suit
     expired, J.A. 164. The Court of Federal Claims granted
     the Government’s Motion. See FastShip, LLC v. United
     States (FastShip II), 122 Fed. Cl. 71, 86 (2015). The Court
     of Federal Claims then convened a bench trial and issued
     a post-trial opinion, holding that LCS-1 infringed the
     Asserted Claims and awarding FastShip $6,449,585.82 in
     damages plus interest. See FastShip, LLC v. United
     States (FastShip III), 131 Fed. Cl. 592, 627 (2017); J.A. 82
     (Judgment).
         FastShip appeals the Court of Federal Claims’ grant
     of the Government’s Motion in FastShip II and damages
     calculation in FastShip III. The Government cross-
     appeals, alleging that, in FastShip III, the Court of Fed-
     eral Claims improperly modified a claim construction
     from FastShip I, thereby resulting in a determination
     that LCS-1 infringed. We have jurisdiction pursuant to
     28 U.S.C. § 1295(a)(3). We affirm, with modification to
     the damages award.
                            BACKGROUND
                       I. The Patents-in-Suit
         Entitled “Monohull Fast Sealift or Semi-Planing Mon-
     ohull Ship,” the Patents-in-Suit relate to a “fast ship
     whose hull design in combination with a waterjet propul-
     sion system permits, for ships of about 25,000 to 30,000
     tons displacement with a cargo carrying capacity of 5,000
     tons, transoceanic transit speeds of up to 40 to 50 knots in
     high or adverse sea states.” ’032 patent col. 1 ll. 8–13. 2


         2   The application that led to the ’946 patent is a
     continuation of the application that led to the ’032 patent.
     A continuation patent application is “an application filed
     subsequently to another application, while the prior
     application is pending, disclosing all or a substantial part
     of the subject-matter of the prior application and contain-
Case 1:23-cv-00811-EGB Document 23-3 Filed 08/31/23 Page 4 of 22




     4                            FASTSHIP, LLC v. UNITED STATES




     The specification indicates that prior to the Patents-in-
     Suit, these speeds were “not achievable in ships of such
     size without impairment of stability or cargo capacity
     such as to render them impracticable.” Id. col. 1 ll. 13–15;
     see id. col. 6 l. 59–col. 7 l. 38 (summarizing the purported
     advantages of the Patents-in-Suit). The parties agree
     that claim 1 of the ’032 patent is representative of all
     Asserted Claims in this appeal. It recites:
         A vessel comprising:
            a hull having a non-stepped profile which
            produces a high pressure area at the bot-
            tom of the hull in a stern section of the
            hull which intersects a transom to form an
            angle having a vertex at the intersection
            and hydrodynamic lifting of the stern sec-
            tion at a threshold speed without the hull
            planing across the water at a maximum
            velocity determined by a Froude Num-
            ber,[3] the hull having a length in excess of
            200 feet, a displacement in excess of 2000


     ing claims to subject-matter common to both applications,
     both applications being filed by the same inventor or his
     legal representative.” U.S. Water Servs., Inc. v. Novo-
     zymes A/S, 843 F.3d 1345, 1348 n.1 (Fed. Cir. 2016)
     (internal quotation marks and citation omitted). The
     Patents-in-Suit share a common specification. Unless
     otherwise noted, we cite to the ’032 patent for ease of
     reference.
         3    “Froude [N]umbers are dimensionless figures rep-
     resenting the ratio of a ship’s speed in knots to the square
     root of its length in feet and are used to understand drag
     by describing the physics of a ship’s speed relative to its
     size.” FastShip III, 131 Fed. Cl. at 600 n.6; see J.A. 332–
     33 (testifying, by the Patents-in-Suit’s inventor, on the
     meaning of Froude Numbers).
Case 1:23-cv-00811-EGB Document 23-3 Filed 08/31/23 Page 5 of 22




     FASTSHIP, LLC v. UNITED STATES                            5



            tons, a Froude Number in between about
            0.42 and 0.90, and a length-to-beam ratio
            between about 5.0 and 7.0;
            at least one inlet located within the high
            pressure area;
            at least one waterjet coupled to the at
            least one inlet for discharging water which
            flows from the inlet to the waterjet for
            propelling the vessel;
            a power source coupled to the at least one
            waterjet for propelling water from the at
            least one inlet through the waterjet to
            propel the vessel and to discharge the wa-
            ter from an outlet of the waterjet; and
            wherein
            acceleration of water into the at least one
            inlet and from the at least one waterjet
            produces hydrodynamic lift at the at least
            one inlet which is additional to the lifting
            produced by the bottom of the hull in the
            high pressure area which increases effi-
            ciency of the hull and reduces drag.
     Id. col. 13 l. 68–col. 14 l. 28 (emphasis added). All of the
     Asserted Claims include the “increases efficiency of the
     hull” limitation. See id. col. 16 ll. 13–14 (claim 19); ’946
     patent col. 14 ll. 22–23 (claim 1), col. 14 ll. 51–52 (claim
     3), col. 15 ll. 1–2 (claim 5), col. 16 ll. 8–9 (claim 7).
               II. The Relevant Factual Background
         In 2003, the Navy issued a request for proposals re-
     lated to its LCS program. FastShip III, 131 Fed. Cl. at
Case 1:23-cv-00811-EGB Document 23-3 Filed 08/31/23 Page 6 of 22




     6                             FASTSHIP, LLC v. UNITED STATES




     600. 4 The Navy eventually awarded a team comprised of
     Lockheed Martin Corp. (“Lockheed Martin”) and Gibbs &
     Cox, Inc. (“Gibbs & Cox”) a contract to design and build
     the Freedom class of LCS. FastShip II, 122 Fed. Cl. at 75;
     see FastShip III, 131 Fed. Cl. at 603. Lockheed Martin
     and Gibbs & Cox began construction of LCS-1 in February
     2005, and LCS-1 was launched in September 2006 and
     commissioned by the Navy in November 2008. FastShip
     III, 131 Fed. Cl. at 603.
         Lockheed Martin and Gibbs & Cox began construction
     of LCS-3’s first module 5 in July 2009 with the laying of
     the keel. FastShip II, 122 Fed. Cl. at 76. By September
     2009, LCS-3’s two gas turbine engines were installed and,
     by April 2010, at least one, but most likely all four, of the
     impellers and housings for the waterjets were awaiting
     installation. Id. However, after corrosion was detected in
     the waterjet tunnels of LCS-1, components from LCS-3’s
     waterjets were borrowed for use on LCS-1 in May 2010.
     Id. LCS-3’s waterjet impeller systems were installed in
     July 2010, and LCS-3’s final module was erected in Sep-
     tember 2010. Id. at 77. Although LCS-3 was launched in
     December 2010, alignment and connection of the propul-



         4   The Court of Federal Claims provided a detailed
     summary of the relevant facts, see FastShip III, 131 Fed.
     Cl. at 598–606; FastShip II, 122 Fed. Cl. at 72–77; Fast-
     Ship I, 114 Fed. Cl. at 501–03, and these facts are largely
     undisputed on appeal. Therefore, we provide only a brief
     summary of the relevant, undisputed facts necessary to
     resolve this appeal.
         5   “The Freedom class ships are constructed in mod-
     ules, which are then assembled or erected.” FastShip II,
     122 Fed. Cl. at 74. “The modules are developed via a
     phased process that includes material fabrication, panel-
     ing, construction, painting, pre-outfitting, and erection.”
     Id.
Case 1:23-cv-00811-EGB Document 23-3 Filed 08/31/23 Page 7 of 22




     FASTSHIP, LLC v. UNITED STATES                            7



     sion system and testing continued throughout 2011, and
     LCS-3 was delivered to the Navy in June 2012. Id.
         On May 18, 2010, the Patents-in-Suit expired. Id. At
     the time of their expiration, “LCS[-]1 was complete and in
     use by the Navy[] but LCS[-]3 was still under construc-
     tion.” FastShip I, 114 Fed. Cl. at 501 (citation omitted).
                            DISCUSSION
         This appeal involves three issues, namely, whether
     the Court of Federal Claims erred in: (1) granting the
     Government’s Motion as to LCS-3; (2) holding that the
     hydrodynamic lifting of LCS-1’s stern at a threshold speed
     infringes the “increases the efficiency of the hull” limita-
     tion; and (3) awarding $6,449,585.82 in damages plus
     interest. See Appellant’s Br. 1–2; Cross-Appellant’s Br. 3;
     Appellant’s Reply Br. 29–30. We address these issues in
     turn.
         I. Partial Summary Judgment as to LCS-3’s Non-
                          Infringement
                       A. Standard of Review
         “We review a grant of summary judgment by the
     Court of Federal Claims de novo.” Wells Fargo & Co. v.
     United States, 827 F.3d 1026, 1032 (Fed. Cir. 2016).
     Summary judgment is appropriate “if the movant shows
     that there is no genuine dispute as to any material fact
     and the movant is entitled to judgment as a matter of
     law.” RCFC 56(a).
       B. The Court of Federal Claims Properly Granted the
      Government’s Motion for Summary Judgment Based on
                    LCS-3’s Non-Infringement
        In granting the Government’s Motion, the Court of
     Federal Claims determined that “the allegedly infringing
     LCS-3 was not ‘manufactured’ for purposes of [§] 1498(a)
     by the date the [Patents-in-Suit] expired” on May 18,
     2010. FastShip II, 122 Fed. Cl. at 86. FastShip argues
Case 1:23-cv-00811-EGB Document 23-3 Filed 08/31/23 Page 8 of 22




     8                            FASTSHIP, LLC v. UNITED STATES




     that this determination was erroneous as a matter of law.
     See Appellant’s Br. 54–70. We disagree with FastShip.
             1. The Meaning of “Manufactured” in § 1498
         Neither the Court of Federal Claims, nor the parties,
     nor this court has identified any binding precedent inter-
     preting the meaning of “manufactured” in § 1498. 6 There-
     fore, we interpret its meaning in the first instance.
         We begin our statutory interpretation with the text of
     § 1498. See BedRoc Ltd. v. United States, 541 U.S. 176,
     183 (2004). Because § 1498 does not define “manufac-
     tured,” we interpret the term in accordance with its
     “ordinary, contemporary, common meaning.” Sandifer v.
     U.S. Steel Corp., 134 S. Ct. 870, 876 (2014) (internal
     quotation marks and citation omitted). Congress enacted
     the “precursor to . . . § 1498” in 1910, Zoltek, 672 F.3d at
     1315; see Act of June 25, 1910, Pub. L. No. 61-305, 36
     Stat. 851, 851–52, and amended the statute to include the
     “manufactured” language in 1918, Zoltek, 672 F.3d at
     1316; see Act of July 1, 1918, Pub. L. No. 65-182, 40 Stat.
     704, 705 (codified in relevant part in 28 U.S.C. § 1498(a)
     in 1949). In 1918, the definition of “manufacture” includ-
     ed “[t]o make (wares or other products) by hand, by ma-
     chinery, or by other agency” and “[t]o work, as raw or
     partly wrought materials, into suitable forms for use.”
     Manufacture, Webster’s Int’l Dictionary of the English
     Language (1st ed. 1907); see Manufacture, A New English
     Dictionary on Historical Principles (1908) (later compiled
     in the Oxford English Dictionary (1st ed. 1933)) (defining
     “manufacture” to include “[t]o work up (material) into
     forms suitable for use”). The plain meaning of “manufac-



         6   Although we discussed the phrase “used or manu-
     factured” in § 1498 in Zoltek Corp. v. United States, our
     holding was limited to the meaning of “use.” See 672 F.3d
     1309, 1318 (Fed. Cir. 2012) (en banc in relevant part).
Case 1:23-cv-00811-EGB Document 23-3 Filed 08/31/23 Page 9 of 22




     FASTSHIP, LLC v. UNITED STATES                            9



     tured” in § 1498 encompasses products “ma[d]e” or
     “work[ed]” into a form that is “suitable for use.” 7
         We next consider § 1498 in the context of the overall
     statutory scheme. See Davis v. Mich. Dep’t of Treasury,
     489 U.S. 803, 809 (1989). Interpreting “manufactured” to
     require that the product be “suitable for use” comports
     with our prior interpretation of “use” in § 1498. In Zoltek,
     we analogized § 1498’s “used or manufactured” language
     to the terms “make” and “use” in the Patent Act of 1870,
     41st Cong. § 22, 16 Stat. 198, 201. See 672 F.3d at 1318.
     We stated that “[t]he Supreme Court has explained that
     ‘make’ and ‘use’ were not ‘technical terms’” and that
     “‘make embraces the construction of the thing invented
     and the right to use is a comprehensive term and embrac-
     es within its meaning the right to put into service any
     given invention.’” Id. (quoting Bauer & Cie v. O’Donnell,
     229 U.S. 1, 10, 10–11 (1913) (alterations omitted) (dis-
     cussing the terms’ use in the Patent Act)). We then held
     that, with respect to the language of § 1498, “to ‘use’ an
     invention, each limitation of the claims must be present
     in the accused product or process.” Id. Because “make”
     was synonymous with “manufacture” in 1918, see, e.g.,
     Manufacture, Webster’s Int’l Dictionary of the English
     Language (1st ed. 1907), and encompasses “the construc-
     tion of the thing invented,” and “use” requires that “each
     limitation of the claims must be present,” Zoltek, 672 F.3d



         7   We further note that this definition is consistent
     with the Supreme Court’s interpretation of “manufacture”
     as used in 35 U.S.C. § 289 (2012). See Samsung Elecs. Co.
     v. Apple Inc., 137 S. Ct. 429, 435 (2016) (“‘[M]anufacture’
     means ‘the conversion of raw materials by the hand, or by
     machinery, into articles suitable for the use of man’ and
     ‘the articles so made.’” (emphasis added) (quoting J.
     Stormonth, A Dictionary of the English Language 589
     (1885))).
Case 1:23-cv-00811-EGB Document 23-3 Filed 08/31/23 Page 10 of 22




      10                           FASTSHIP, LLC v. UNITED STATES




      at 1318 (emphases added) (internal quotation marks and
      citation omitted), we conclude that “manufactured” re-
      quires that “each limitation” “of the thing invented” be
      present, rendering the invention suitable for use, see id.
      at 1319 (holding that “‘used or manufactured by or for the
      United States[]’ mean[s] each limitation is present in the
      accused product or process”). Therefore, our prior inter-
      pretation of “use” further supports our interpretation of
      “manufactured” under § 1498.
          The legislative history informs our interpretation of
      § 1498. See Thunder Basin Coal Co. v. Reich, 510 U.S.
      200, 207 (1994).       Congress added “manufacture” to
      § 1498’s predecessor after government contractors were
      found liable for patent infringement when producing
      warships in accordance with the Navy’s “‘comprehensively
      detailed’ specifications” during World War I. Zoltek, 672
      F.3d at 1315. This prompted a “swift” reaction from
      Acting Secretary of the Navy Franklin D. Roosevelt, who
      wrote to the Senate Committee of Naval Affairs to explain
      the “difficult situation” where contractors that manufac-
      ture patented articles for the Government “are exposed to
      expensive litigation” and “are reluctant to take contracts.”
      Id. at 1315, 1316. He thus proposed revisions to § 1498’s
      predecessor. Id. at 1316. “In response to this letter,”
      Congress amended § 1498’s predecessor to provide com-
      pensation for contractors that “manufacture” patented
      articles for the Government. Id.; see Act of July 1, 1918,
      40 Stat. at 705. Although the legislative history does not
      directly speak to the meaning of “manufacture” in § 1498,
      it indicates Congressional intent to protect government
      contract awardees, such as Lockheed Martin and Gibbs &
      Cox here, from infringement claims from patent holders,
      such as FastShip. Cf. Astornet, 802 F.3d at 1277.
          Rather than interpreting the text of § 1498, the Court
      of Federal Claims and the parties look to three cases to
      guide their interpretation of “manufactured.” See Fast-
      Ship II, 122 Fed. Cl. at 80–82; see, e.g., Appellant’s
Case 1:23-cv-00811-EGB Document 23-3 Filed 08/31/23 Page 11 of 22




      FASTSHIP, LLC v. UNITED STATES                            11



      Br. 54–55; Cross-Appellant’s Br. 62–67. However, as
      explained below, these cases do not control our interpreta-
      tion of “manufactured” in this case.
          First, in Deepsouth Packing Co. v. Laitram Corp., the
      patent owner invoked 35 U.S.C. § 271(a)8 to enforce its
      U.S. patents and enjoin the petitioner from exporting its
      products “in less than fully assembled form[] for use
      abroad.” 406 U.S. 518, 519 (1972), superseded in part by
      statute, Patent Law Amendments Act of 1984, § 101, Pub.
      L. No. 98-622, 98 Stat. 3383, 3383 (codified at 35 U.S.C.
      § 271(f)), as recognized in Microsoft Corp. v. AT&T Corp.,
      550 U.S. 437, 457–58 (2007). The Supreme Court held
      that, “in order to secure the injunction it seeks, [the
      patent owner] must show a § 271(a) direct infringement
      by [the alleged infringer] in the United States, that is,
      that [the alleged infringer] ‘makes,’ ‘uses,’ or ‘sells’ the
      patented product within the bounds of this country.” Id.
      at 527. In determining that the less-than-fully assembled
      products did not infringe the patents, the Supreme Court
      considered the “question of manufacture” when interpret-
      ing “makes,” “uses,” and “sells” in § 271(a) and explained
      that it “c[ould ]not endorse the view that the substantial
      manufacture of the constituent parts of a machine consti-
      tutes direct infringement when we have so often held that
      a combination patent protects only against the operable
      assembly of the whole and not the manufacture of its
      parts.” Id. at 528 (emphasis added) (internal quotation
      marks and parentheses omitted).         However, because
      Deepsouth interpreted a different word in a different



          8   Section 271(a) states that, “[e]xcept as otherwise
      provided in this title, whoever without authority makes,
      uses, offers to sell, or sells any patented invention, within
      the United States or imports into the United States any
      patented invention during the term of the patent therefor,
      infringes the patent.”
Case 1:23-cv-00811-EGB Document 23-3 Filed 08/31/23 Page 12 of 22




      12                            FASTSHIP, LLC v. UNITED STATES




      statute, Deepsouth is not controlling here. See T-Mobile
      S., LLC v. City of Roswell, 135 S. Ct. 808, 817 n.5 (2015)
      (“[W]hile it is true that a word used across ‘the same act’
      should be given the same meaning, the . . . evidence is
      less persuasive [when] it arises out of entirely different
      ‘acts’ and does not involve any term of art.” (citation
      omitted)); see also Zoltek, 672 F.3d at 1317 (faulting the
      panel for finding “liability under . . . § 271(a) to be a
      predicate to [G]overnment liability under § 1498” because
      it, inter alia, “was contrary to the plain language of
      § 1498” and “impermissibly rendered [a] subsection . . . of
      § 1498 inoperative”), 1319 (“Section 1498 makes no refer-
      ence to direct infringement as it is defined in § 271(a).”).
           Second, in Paper Converting Machine Co. v. Magna-
      Graphics Corp., we considered the meaning of “make” and
      “use” in § 271(a), assessing “the extent to which a compet-
      itor of a patentee can manufacture and test during the life
      of a patent a machine intended solely for post-patent use.”
      745 F.2d 11, 16 (Fed. Cir. 1984). In that case, an alleged
      infringer engaged in a “scheme to avoid patent infringe-
      ment” by conducting tests of the accused device in two
      independently non-infringing “stages.” Id. at 15. In
      response to the patent owner’s infringement suit, the
      alleged infringer asserted that “it should bear no liability
      whatsoever for its manufacture, sale, or delivery of the
      [allegedly infringing machine] because that machine was
      never completed during the life of the . . . patent.” Id. at
      14. Although Paper Converting explained that “Deepsouth
      was intended to be narrowly construed as applicable only
      to the issue of the extraterritorial effect of the American
      patent law,” 745 F.2d at 17; see id. (stating that “the
      expansive language used in Deepsouth is not controlling
      in the present case”), we considered Deepsouth’s “operable
      assembly of the whole” standard and determined it “is
      probably something short of a full and complete assembly”
      and that “‘use’ includes use for the purpose of testing,” id.
      at 18, 19; see id. at 17. In finding that the machine in-
Case 1:23-cv-00811-EGB Document 23-3 Filed 08/31/23 Page 13 of 22




      FASTSHIP, LLC v. UNITED STATES                            13



      fringed the patent, we held that, “[w]here . . . significant,
      unpatented assemblies of elements are tested during the
      patent term, . . . testing the assemblies can be held to be
      in essence testing the patented combination and, hence,
      infringement.” Id. at 19–20. Moreover, “[t]hat the ma-
      chine was not operated in its optimum mode is inconse-
      quential: imperfect practice of an invention does not
      avoid infringement.” Id. at 20. However, like Deepsouth,
      Paper Converting’s analysis is not controlling because it
      interpreted § 271(a) rather than § 1498. See T-Mobile,
      135 S. Ct. at 817 n.5; see also Zoltek, 672 F.3d at 1317.
      Paper Converting is distinguishable from this case. In
      Paper Converting, it was undisputed that the alleged
      infringer was engaged in a “scheme to avoid patent in-
      fringement,” 745 F.2d at 15; see id. at 19 (“It is undisput-
      ed that [the alleged infringer] intended to finesse [the
      patent owner] out of the sale of a machine on which [the
      patent owner] held a valid patent during the life of that
      patent.”), and the alleged infringer “built and tested a
      patented machine, albeit in less than preferred fashion,”
      and tested “an ‘operable assembly’ of the components” of
      the patented machine, id. at 19. In contrast, FastShip
      has raised only unproven allegations of misconduct by the
      Navy, and the Navy had not constructed a ship that was
      “suitable for use” when the Patents-in-Suit expired. See
      infra Section I.B.2.
          Finally, in Hughes Aircraft Co. v. United States, the
      Court of Federal Claims addressed the “boundaries of the
      problem” of defining “manufactured” in § 1498 with
      respect to infringement of a spacecraft. 29 Fed. Cl. 197,
      219 (1993). After extensively discussing Deepsouth and
      Paper Converting, see id. at 217–22, the Court of Federal
      Claims determined that, “[e]ven though test parts were
      not intended to be launched with the spacecraft, the fact
      remains that the spacecraft . . . had been entirely assem-
      bled to the extent feasible at the time” and that “each of
      the . . . spacecraft in issue was ‘manufactured’ as of the
Case 1:23-cv-00811-EGB Document 23-3 Filed 08/31/23 Page 14 of 22




      14                            FASTSHIP, LLC v. UNITED STATES




      expiration date of the patent,” id. at 220, 222 (footnote
      omitted). As a decision of the Court of Federal Claims,
      Hughes Aircraft is not binding on this court. See Dellew
      Corp. v. United States, 855 F.3d 1375, 1382 (Fed. Cir.
      2017). Moreover, Hughes Aircraft similarly relied on past
      opinions’ interpretations of § 271 rather than ascertaining
      the plain meaning of “manufactured” in § 1498, see 29
      Fed. Cl. at 217–22; see also T-Mobile, 135 S. Ct. at 817
      n.5. Therefore, we interpret “manufactured” in § 1498 in
      accordance with its plain meaning, such that a product is
      “manufactured” when it is made to include each limitation
      of the thing invented and is therefore suitable for use.
      2. LCS-3 Was Not “Manufactured” Under § 1498 when the
                     Patents-in-Suit Expired
           The undisputed facts demonstrate that LCS-3 was not
      “manufactured” when the Patents-in-Suit expired in May
      2010. The Asserted Claims disclose a “vessel” comprising,
      inter alia, “at least one waterjet coupled to the at least one
      inlet for discharging water which flows from the inlet to
      the waterjet for propelling the vessel,” ’032 patent col. 14
      ll. 15–17 (emphasis added), and the record demonstrates
      that “[a]ll [four] waterjets and impeller shafts were in-
      stalled” in July 2010, J.A. 13541; see FastShip II, 122 Fed.
      Cl. at 77. Moreover, the vessel further comprises a “hull,”
      ’032 patent col. 14 l. 1, and the construction of the “hull”
      was not completed until the “[e]rection of the [bow
      m]odule . . . during August 2010,” at the earliest,
      J.A. 13563; see FastShip II, 122 Fed. Cl. at 85–86; see also
      Oral Arg. at 10:05–48, http://oralarguments.cafc.uscourts.
      gov/default.aspx?fl=2017-2248.mp3 (conceding that the
      bow was not complete and that “a bow is part of a hull”).
      LCS-3 neither was “suitable for use” nor included “each
      limitation of the claims” without either of these limita-
      tions. Oral Arg. at 10:53–11:11 (acknowledging that the
      vessel would not float without the bow); see FastShip II,
      122 Fed. Cl. at 85–86 (depicting photographs of the bow
      module on the day following the expiration of the Patents-
Case 1:23-cv-00811-EGB Document 23-3 Filed 08/31/23 Page 15 of 22




      FASTSHIP, LLC v. UNITED STATES                            15



      in-Suit and determining that “LCS-3 could not possibly
      float by May 18, 2010” (internal quotation marks and
      citation omitted)). Therefore, LCS-3 was not “manufac-
      tured” under § 1498 when the Patents-in-Suit expired in
      May 2010.
          We are unpersuaded by FastShip’s remaining coun-
      terarguments. See Appellant’s Br. 66–70. First, FastShip
      argues that “[a] material factual dispute exists as to
      whether the Navy deliberately attempted to avoid in-
      fringement by delaying installation of the waterjet as-
      semblies in LCS-3, disassembling [LCS-3] waterjets and
      sending critical components . . . for use in LCS-1, or
      slowing construction of LCS-3 bow modules.” Id. at 67.
      However, “[i]n response to a summary judgment mo-
      tion, . . . the plaintiff can no longer rest on . . . mere
      allegations, but must set forth by affidavit or other evi-
      dence specific facts, which for purposes of the summary
      judgment motion will be taken as true.” Lujan v. Defs. of
      Wildlife, 504 U.S. 555, 561 (1992) (internal quotation
      marks and citation omitted); see RCFC 56(a). FastShip
      has failed to identify an affidavit or other evidence setting
      forth specific facts demonstrating that the Government
      “deliberately attempted to avoid infringement by delaying
      installation of the waterjet assemblies in LCS-3.” Appel-
      lant’s Br. 67. See generally id. FastShip’s claims amount
      to nothing more than “mere allegations” that are insuffi-
      cient to preclude summary judgment, Lujan, 504 U.S. at
      561 (internal quotation marks and citation omitted),
      particularly in light of “[t]he presumption that
      [G]overnment officials act in good faith,” Am-Pro Protec-
      tive Agency, Inc. v. United States, 281 F.3d 1234, 1239
      (Fed. Cir. 2002); see id. (discussing “our well-established
      precedent that a high burden must be carried to overcome
      this presumption”).
          Even if the Government had delayed assembly of
      waterjet elements in LCS-3 until months after the Pa-
      tents-in-Suit expired, FastShip has not explained how
Case 1:23-cv-00811-EGB Document 23-3 Filed 08/31/23 Page 16 of 22




      16                            FASTSHIP, LLC v. UNITED STATES




      such a delay would support a finding that a patented
      combination had been “manufactured” during the patent
      term under the language of § 1498. FastShip relies on
      Paper Converting—a case that we have already ruled does
      not control—but Paper Converting’s analysis was based in
      part on “sale and delivery during the patent-term of a
      ‘completed’ machine.” 745 F.2d at 19. FastShip has
      presented no evidence that all of the claimed elements of
      LCS-3 were completed “by being ready for assembly and
      with no useful noninfringing purpose” by May 2010. Id.
          Second, FastShip avers both that: “[a]nother obvious
      factual dispute is over the extent to which the accused
      product was substantially completed prior to the [Patents-
      in-Suit’s] expiration, ‘to the extent feasible at the time,’”
      Appellant’s Br. 67 (quoting Hughes Aircraft, 29 Fed. Cl. at
      220); see id. at 67–68; and “[t]here are also factual dis-
      putes as to whether LCS-3 (and LCS-1) had been suffi-
      ciently tested to constitute ‘testing the patented
      combination and, hence, infringement,’” id. at 69 (first
      quoting Paper Converting, 745 F.2d at 19–20; then citing
      Hughes Aircraft, 29 Fed. Cl. at 220). However, the “to the
      extent feasible” and “testing the patented combination”
      standards are derived from cases that we rejected as
      inapplicable rather than from the plain language of
      § 1498. See supra Section I.B.1. 9




           9  We do not hold that evidence regarding feasibility
      and testing are never relevant to determining whether a
      product is “manufactured” under § 1498. To the extent
      these inquiries inform whether the product is “suitable for
      use” or includes “each limitation” of an invention, courts
      may consider them. However, we need not consider this
      evidence here because it is clear that LCS-3 was not
      “manufactured” under § 1498 based on the plain language
      alone.
Case 1:23-cv-00811-EGB Document 23-3 Filed 08/31/23 Page 17 of 22




      FASTSHIP, LLC v. UNITED STATES                          17



          Third, FastShip contends that “clear factual disputes
      remain over the extent to which the relevant portions of
      LCS-3 had been completed prior to the expiration of the
      [Patents-in-Suit].” Appellant’s Br. 68; see id. (discussing
      the semi-planing monohull, “including the modules con-
      taining its hook and propulsion system, drive trains, gear
      boxes, and waterjet inlets”). However, our conclusion
      that, at minimum, the “waterjet” and “hull” limitations
      had not been completed prior to the Patents-in-Suit’s
      expiration is unaltered by the fact that other portions of
      LCS-3 had been completed, which is sufficient for a grant
      of summary judgment of non-infringement as to LCS-3.
      Cf. Zoltek, 672 F.3d at 1318.
       II. The Government’s Cross-Appeal on Infringement by
                              LCS-1
                        A. Standard of Review
          “We review the legal conclusions of the [Court of Fed-
      eral Claims] de novo and its findings of fact for clear
      error.” Securiforce Int’l Am., LLC v. United States, 879
      F.3d 1354, 1359 (Fed. Cir. 2018) (citation omitted). “The
      ultimate interpretation of a claim term, as well as inter-
      pretations of evidence intrinsic to the patent (the patent
      claims and specifications, along with the patent’s prosecu-
      tion history), are legal conclusions, which this court
      reviews de novo.” Liberty Ammunition, 835 F.3d at 1395
      (internal quotation marks and citation omitted). “Subsid-
      iary factual determinations based on extrinsic evidence
      are reviewed for clear error.” Id. (internal quotation
      marks and citation omitted).
      B. The Court of Federal Claims Properly Determined that
               LCS-1 Infringes the Asserted Claims
          In FastShip I, the Court of Federal Claims construed
      the “increases the efficiency of the hull” limitation to
      mean “allows achievement of speed through application of
      less power than would be required for comparable or even
Case 1:23-cv-00811-EGB Document 23-3 Filed 08/31/23 Page 18 of 22




      18                            FASTSHIP, LLC v. UNITED STATES




      lower speeds with a conventional displacement hull.” 114
      Fed. Cl. at 511. In FastShip III, the Court of Federal
      Claims reiterated its prior claim construction and evalu-
      ated whether LCS-1 satisfies this limitation by comparing
      graphs depicting the Patents-in-Suit’s and LCS-1’s power
      to speed ratios. 131 Fed. Cl. at 617–18. In making this
      comparison, the Court of Federal Claims “convert[ed] the
      LCS-1 shaft power measurements to metric units (kilo-
      watts) to conform to the metric units used on the power-
      speed graph in the ’032 patent.” Id. at 617; see ’032
      patent fig.11 (depicting the Patents-in-Suit’s shaft power);
      J.A. 4479 (depicting LCS-1’s shaft power).
          On appeal, the Government’s primary contention is
      that, although the Court of Federal Claims’ “construction
      ruling of ‘increases efficiency of the hull’ was cor-
      rect, . . . the [C]ourt [of Federal Claims] later erred when
      it accepted improper extrinsic evidence to modify its
      original construction.” Cross-Appellant’s Br. 41; see id. at
      41–60. In the alternative, the Government avers that,
      “[e]ven if the [Court of Federal Claims’] acceptance of the
      ‘metric system’ construction of Figure 11 is characterized
      as a factual finding subject to a clear error standard of
      review, that finding should be reversed as clear error.”
      Id. at 59. We disagree with the Government.
          The Court of Federal Claims did not alter its claim
      construction in FastShip III. The Court of Federal Claims
      explicitly applied its construction from FastShip I, see
      FastShip III, 131 Fed. Cl. at 617, as the Government
      ultimately appears to concede, see Cross-Appellant’s
      Reply Br. 23 (stating that, in FastShip III, “the [C]ourt [of
      Federal Claims] confirmed that it was applying the con-
      struction of ‘increases efficiency’ from its earlier claim
      construction ruling” (emphasis added)). Before assessing
      whether LCS-1 infringed the Asserted Claims by compar-
      ing graphs depicting the efficiency of the inventions of the
      Patents-in-Suit and LCS-1, the Court of Federal Claims
      needed to assure itself that these graphs expressed effi-
Case 1:23-cv-00811-EGB Document 23-3 Filed 08/31/23 Page 19 of 22




      FASTSHIP, LLC v. UNITED STATES                              19



      ciency ratios in the same unit of measure. Therefore, the
      Court of Federal Claims “did not alter its claim construc-
      tion”; it “at most clarified” that the hull efficiency found in
      representative claim 1 would be measured in metric units
      rather than imperial units. Mformation Techs., Inc. v.
      Research in Motion Ltd., 764 F.3d 1392, 1398 (Fed. Cir.
      2014); see Cordis Corp. v. Bos. Sci. Corp., 658 F.3d 1347,
      1356 (Fed. Cir. 2011) (explaining that the court’s “post-
      verdict elaboration on [its claim construction] only clari-
      fied what was inherent in the construction”).
           The Court of Federal Claims also did not clearly err as
      a factual matter by reading Figure 11 as using metric
      units. In its pre-trial contentions of law and fact, the
      Government presented an annotated version of Figure 11.
      J.A. 17374. The Government argued that the “shaft
      horsepower” of the conventional frigate in Figure 11 was
      shown in imperial units and plotted horsepower for LCS-1
      in imperial units on the same graph, attempting to
      demonstrate that “LCS-1 requires substantially more
      power than a conventional hull to achieve the same
      speeds” and, “[t]hus, this required element of the [Assert-
      ed C]laims is . . . not met by . . . LCS-1.”      J.A. 17374.
      However, the Government did not support its arguments
      regarding the units in Figure 11 with any evidence. See
      J.A. 17374; see J.A. 17347–96. At trial, the Patents-in-
      Suit’s inventor testified that Figure 11 depicts “shaft
      horsepower in kilowatts,” J.A. 495, and the Government
      failed to rebut this testimony at trial. When the Govern-
      ment nevertheless reproduced the annotated Figure 11 in
      its post-trial brief, see J.A. 17558, FastShip explained that
      “[t]he Navy . . . fail[ed] to note that [J.A. 4479] records
      shaft horsepower in imperial units, whereas the [Patents-
      in-Suit] record shaft horsepower in metric units (kilo-
      watts, or ‘KW’), as [the Patents-in-Suit’s inventor] pointed
      out on [d]ay [o]ne of the trial,” J.A. 17607 (footnote omit-
      ted). In light of this testimony, the Court of Federal
      Claims determined it was “correct to convert . . . LCS-1
Case 1:23-cv-00811-EGB Document 23-3 Filed 08/31/23 Page 20 of 22




      20                              FASTSHIP, LLC v. UNITED STATES




      shaft power measurements to metric units (kilowatts) to
      conform to the metric units used on the power-speed
      graph in the ’032 patent.” FastShip III, 131 Fed. Cl. at
      617.
            We are not “left with the definite and firm conviction
      that a mistake has been committed.” Ferreiro v. United
      States, 350 F.3d 1318, 1324 (Fed. Cir. 2003) (internal
      quotation marks and citation omitted). FastShip sup-
      ported its argument with the Patents-in-Suit’s inventor’s
      testimony, see J.A. 495, and the Court of Federal Claims
      was entitled to weigh the credibility of that testimony, see
      Inwood Labs., Inc. v. Ives Labs., Inc., 456 U.S. 844, 856
      (1982) (“Determining the weight and credibility of the
      evidence is the special province of the trier of fact.”).
      Moreover, the record demonstrates that “horsepower” can
      be measured in either imperial or metric units, see
      J.A. 3625–34 (depicting “hull effective power” in “HP” and
      “KW”), 4464 (depicting “Gas turbines” and “Diesels” in
      “hp” and “kW”), 4578–625 (depicting effective horsepower,
      i.e., “EHP,” as both “HP” and “KW”).
           In contrast, the Government failed to support its con-
      tention that Figure 11 depicts power in imperial units
      with any evidence before the Court of Federal Claims.
      The only support the Government provided was an anno-
      tated version of Figure 11, see J.A. 17374, 17558, but
      these annotations were prepared by attorneys, and
      “[a]ttorney argument is not evidence,” Icon Health &
      Fitness, Inc. v. Strava, Inc., 849 F.3d 1034, 1043 (Fed. Cir.
      2017). On appeal, the Government argues that: “[t]he
      specification contains a detailed description of a best
      mode embodiment of the invention with every reference to
      power being expressed in the [i]mperial units of ‘horse-
      power’ or ‘HP,’” Cross-Appellant’s Br. 55 (footnote omit-
      ted); see ’032 patent col. 3 l. 67, col. 10 ll. 23–24, 55, col. 11
      ll. 30–31, 34–35; and “Figure 11 itself only uses the term
      ‘shaft horsepower x 1000,’” Cross-Appellant’s Br. 55; see
      ’032 patent fig.11. However, as we explained above, the
Case 1:23-cv-00811-EGB Document 23-3 Filed 08/31/23 Page 21 of 22




      FASTSHIP, LLC v. UNITED STATES                           21



      record demonstrates that horsepower can be measured in
      either imperial or metric units. See J.A. 3625–34, 4464,
      4578–625.
           We see no clear error in the Court of Federal Claims’
      factual findings. The Government concedes that, if the
      Court of Federal Claims properly determined the units in
      Figure 11 are metric units, “then LCS-1 infringes.” Cross-
      Appellant’s Reply Br. 24; see id. (stating that “the ques-
      tion of whether the power units representing line B
      in . . . Figure 11 are imperial units or metric units is
      dispositive in this case”). Therefore, we affirm the Court
      of Federal Claims’ determination that LCS-1 infringes the
      Asserted Claims.
                             III. Damages
                        A. Standard of Review
          When reviewing damages awards by the Court of
      Federal Claims, “[d]ifferent standards of review are
      applicable to different aspects of a damages award.”
      Home Savs. of Am., FSB v. United States, 399 F.3d 1341,
      1346 (Fed. Cir. 2005). Because “the amount of a prevail-
      ing party’s damages is a finding of fact,” id. (internal
      quotation marks and citation omitted), “the clear error
      standard governs . . . findings about the general type of
      damages to be awarded . . . , their appropriateness . . . ,
      and rates used to calculate them,” id. at 1347.
         B. The Court of Federal Claims Clearly Erred in Its
                        Damages Calculation
          The Court of Federal Claims determined that “a hypo-
      thetical licensing agreement between FastShip and the
      Navy on September 23, 2006[,] would have resulted in a
      payment of $6,449,582.82, reflecting a 3% royalty on the
      cost of the elements of LCS-1 covered by the [Patents-in-
      Suit] as of the date of the license.” FastShip III, 131 Fed.
      Cl. at 627; see id. at 622–27. FastShip contends that the
      Court of Federal Claims miscalculated the total royalty
Case 1:23-cv-00811-EGB Document 23-3 Filed 08/31/23 Page 22 of 22




      22                            FASTSHIP, LLC v. UNITED STATES




      base as $214,986,194 rather than $237,242,394, which
      “might be the result of inadvertent copying.” Appellant’s
      Br. 48, 53. The Government agrees with FastShip, Cross-
      Appellant’s Br. 80, and both parties agree that the revised
      damages award should be $7,117,271.82, plus interest for
      delay damages, see id.; Appellant’s Reply Br. 35; Cross-
      Appellant’s Reply Br. 28. Having reviewed the Court of
      Federal Claims’ damages award, we agree with the par-
      ties that the Court of Federal Claims clearly erred by
      miscalculating the total royalty base and, thus, the final
      damages award. Therefore, we modify the Court of Fed-
      eral Claims’ damages award to $7,117,271.82, plus inter-
      est for delay damages. See Ajinomoto Co. v. Archer-
      Daniels-Midland Co., 228 F.3d 1338, 1351 (Fed. Cir.
      2000) (modifying a damages award).
                              CONCLUSION
          We have considered the parties’ remaining arguments
      and find them unpersuasive. We affirm the Court of
      Federal Claims’ grant of summary judgment of non-
      infringement by LCS-3 and finding of infringement by
      LCS-1. We modify the Court of Federal Claims’ damages
      calculation to $7,117,271.82, plus interest for delay dam-
      ages. Accordingly, the Judgment of the Court of Federal
      Claims is
                     AFFIRMED AS MODIFIED
                                 COSTS
           Each party shall bear its own costs.
